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 1   ANTHONY P. CAPOZZI, CSBN: 068525
     LAW OFFICES OF ANTHONY P. CAPOZZI
 2   1233 W. Shaw Avenue, Suite 102
     Fresno, California 93711
 3   Telephone: (559) 221-0200
     Facsimile: (559) 221-7997
 4   E-mail: anthony@capozzilawoffices.com
     www.capozzilawoffices.com
 5

 6   Attorney for Defendant,
     JOSEPH NOLAN
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 8
                      IN THE UNITED STATES DISTRICT COURT
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                  EASTERN DISTRICT OF CALIFORNIA, FRESNO
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11   UNITED STATES OF AMERICA,          ) Case No.: 1:10-CR-00131-AWI
                                        )
12             Plaintiff,               )
                                        )
13       vs.                            ) STIPULATION AND ORDER TO
                                        ) EXONERATE BOND
14   JOSEPH NOLAN,                      )
                                        )
15             Defendant.               )
                                        )
16
          TO THE ABOVE-ENTITLED COURT AND THE UNITED                     STATES
17   ATTORNEY FOR THE EASTERN DISTRICT OF CALIFORNIA:
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19       IT IS HEREBY STIPULATED AND AGREED between Plaintiff,
20   United States of America, and Defendant, JOSEPH NOLAN, by and
21   through his attorney of record, Anthony P. Capozzi, that the
22   following property bond posted as collateral in the above
23   referenced matter be exonerated.
24       1. Gary Inouye and Karen Inouye, Deed No. 20100411443,
25   Docket # 12, filed March 29, 2010.
26       2.    Said    Deed   No.    20100411443      was    Subordinated   by
27   Stipulation and Order on October 14, 2011, and not returned
28   to the court.
         Case 1:10-cr-00131-LJO Document 228 Filed 05/16/14 Page 2 of 2


 1   DATED: May 15, 2014                     Respectfully submitted,
 2                                           /s/Karen A. Escobar
                                             United States Attorney
 3

 4
     DATED: May 15, 2014                     Respectfully submitted,
 5
                                             /s/Anthony P. Capozzi
 6                                           ANTHONY P. CAPOZZI
                                             Attorney for, JOSEPH NOLAN
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                                      * * * * *

10
                                        ORDER
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12
          IT IS HEREBY ORDERED that the property bond (Doc. 12,
13
     filed on March 29, 2010) posted to secure the release of
14
     Defendant, Joseph Nolan is exonerated.
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16   IT IS SO ORDERED.
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       Dated:   May 15, 2014                    /s/ Barbara A. McAuliffe   _
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                                           UNITED STATES MAGISTRATE JUDGE
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